     8:18-cr-00480-BHH      Date Filed 02/01/19    Entry Number 47    Page 1 of 2




              IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE DISTRICT OF SOUTH CAROLINA
                              GREENWOOD DIVISION


 UNITED STATES OF AMERICA,               )             CR. NO. 8:18CR480
                                         )
                  vs.                    )        MOTION TO SEAL DOCUMENT
                                         )
 BRANDON CORY LECROY                     )
                                         )

      Now comes the Defendant, Brandon Cory Lecroy (Lecroy), by and through his

attorney, and respectfully moves this court for permission to file under seal the

Defendant’s Sentencing Memorandum and Motion for a Downward Departure or

Variance, pursuant to Local Crim. Rule 49.01 (D.S.C.).

      The District Court “has supervisory power over its own records and may, in

its discretion, seal documents if the public’s right of access is outweighed by

competing interests.” In re Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984). In

this case, sealing is necessary there is an “Order Regulating the Dissemination of

Discovery” in effect, and the Defendant’s Sentencing Memorandum and Motion for a

Downward Departure or Variance contains a detailed summary of the contents of

this discovery. See ECF #23. Additionally, the document that the Defendant seeks

to seal contains personal and confidential information about the Defendant that

may, if disclosed to the public, violate the defendant’s privacy rights. Defense

counsel is unaware of any alternatives to sealing that would afford adequate

protection. Furthermore, the document that the Defendant seeks to seal does not

                                             1
     8:18-cr-00480-BHH       Date Filed 02/01/19   Entry Number 47     Page 2 of 2




regard any important historical event, nor would it tend to be sought by the public

for any proper purpose beyond the boundaries of the instant case.

      Defense counsel has consulted with Assistant United States Attorney Bill

Watkins, who has no objection to the Defendant’s request to seal this document.

      Accordingly, the Defendant respectfully requests this court to grant

permission to file under seal the Defendant’s Sentencing Memorandum and Motion

for a Downward Departure or Variance.




                                  Respectfully submitted,
                                  FEDERAL PUBLIC DEFENDER
                                  Attorney for the Defendant

                                    s/ Erica Soderdahl
                                  Erica Soderdahl (Fed. Bar # 12606)
                                  Assistant Federal Public Defender
                                  75 Beattie Place, Suite 950
                                  Greenville, South Carolina 29601
                                  (864) 235-8714
                                  erica_soderdahl@fd.org



February 1, 2019
Greenville, South Carolina




                                           2
